     Case: 1:22-cv-01048 Document #: 30 Filed: 07/18/23 Page 1 of 1 PageID #:88

                     UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF NextGen 1.7.1.1
                                Eastern Division

Susan Phillips, et al.
                                      Plaintiff,
v.                                                       Case No.: 1:22−cv−01048
                                                         Honorable Andrea R. Wood
The United States of America
                                      Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, July 18, 2023:


         MINUTE entry before the Honorable Andrea R. Wood: The Court has reviewed
the parties' joint status report [29] and declines to set a status hearing at this time. By
10/17/2023, the parties shall file a further joint status report updating the Court on the
status of the related criminal matter and whether any party desires a modification or lifting
of the stay. The status report shall also state whether any party desires a status hearing
and, if so, what matters they would like to discuss with the Court. Mailed notice (lma, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
criminal dockets of this District. If a minute order or other document is enclosed, please
refer to it for additional information.

For scheduled events, motion practices, recent opinions and other information, visit our
web site at www.ilnd.uscourts.gov.
